             Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 1 of 24




                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

         v.                                                  no. 1:21-cr-00350-PLF

 DAVID ALAN BLAIR,

                              Defendant.

                        GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum. For the reasons set

forth herein, the government requests that the Court sentence defendant David Alan Blair to

eight months of imprisonment, which is the low end of the applicable Sentencing Guidelines

range, followed by three years of supervised release; and that the Court order the defendant to

pay $2000 in restitution and the mandatory $100 special assessment.

    I.        INTRODUCTION

         The defendant participated in the January 6, 2021 attack on the United States Capitol—a

violent attack that forced an interruption of the certification of the 2020 Electoral College vote

count, threatened the peaceful transfer of power after the 2020 presidential election, injured more

than one hundred law enforcement officers, and resulted in more than 2.7 million dollars in

losses. 1

         Blair, who is 6 feet tall and weighs 200 pounds, and who was 26 years old at the time,

came to the Capitol grounds that day wearing a skull-themed neck gator, which he had pulled up


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          As of April 5, 2022, the approximate losses suffered as a result of the siege at the United States Capitol
was $2,734,783.15. That amount reflects, among other things, damage to the Capitol building and grounds and
certain costs borne by the United States Capitol Police.
          Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 2 of 24




over his lower face, and Oakley “tactical” gloves; and carrying a lacrosse stick with a large

Confederate battle flag attached to it. He was also wearing a backpack that contained a knife

with a serrated blade approximately four inches long and a roll of duct tape.

         At 5:47 p.m., while on the Capitol’s West Lawn, he loudly announced he would not

comply with verbal commands being issued by multiple police officers for him and other rioters

to leave the Lawn, and blatantly encouraged other rioters to do the same. He then pushed his

lacrosse stick against a police officer’s chest, and as a result was promptly detained and arrested.

   II.        FACTUAL BACKGROUND

         A.     The January 6, 2021 Attack on the Capitol

         On January 6, 2021, hundreds of rioters breached fencing and barricades set up around

the Capitol building, and then broke into building in an effort to disrupt the peaceful transfer of

power after the November 3, 2020 presidential election. Many rioters attacked and injured law

enforcement officers, sometimes with dangerous weapons; they terrified congressional staff and

others on scene that day, many of whom fled for their safety; and they ransacked this historic

building—vandalizing, damaging, and stealing artwork, furniture, and other property. Although

the facts and circumstances surrounding the actions of each rioter who breached the U.S. Capitol

and its grounds differ, each rioter’s actions were illegal and contributed, directly or indirectly, to

the violence and destruction that day. See United States v. Matthew Mazzocco, 1:21-cr-00054

(TSC), Tr. 10/4/2021 at 25 (“A mob isn't a mob without the numbers. The people who were

committing those violent acts did so because they had the safety of numbers.”) (statement of

Judge Chutkan).




                                                  2
         Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 3 of 24




       The day started out calmly enough. As set forth in the Statement of Offense

incorporated into Blair’s plea agreement, a joint session of Congress had convened at

approximately 1:00 p.m., to certify the Electoral College vote in the 2020 presidential election.

At approximately 1:30 p.m., members of the House of Representative and Senate adjourned to

their separate chambers to resolve a particular objection. Vice President Mike Pence was

present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued, a large crowd gathered outside the Capitol. Temporary

and permanent barricades were in place along the grounds around the building, and U.S. Capitol

Police (USCP) were present to keep the crowd away from the building and the proceedings

underway inside. At approximately 2:00 p.m., certain individuals forced their way over the

barricades and past the officers, and the crowd advanced to the exterior of the building.

       The vote certification proceedings were still underway, and the exterior doors and

windows of the Capitol were locked or otherwise secured. USCP members attempted to keep

the crowd from entering; however, shortly after 2:00 p.m., individuals in the crowd forced their

way in, breaking windows and assaulting law enforcement officers along the way, while others

in the crowd cheered them on.

       At approximately 2:20 p.m., members of the House and the Senate, including the

President of the Senate, Vice President Pence, were forced to evacuate the chambers. All

proceedings, including the joint session, were effectively suspended. The proceedings would

not resume until approximately 8:00 p.m., after the building had been secured. Vice President

Pence remained in the Capitol from the time he was evacuated from the Senate chamber until the

session resumed.


                                                 3
         Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 4 of 24




       The D.C. Circuit has observed that “the violent breach of the Capitol on January 6 was a

grave danger to our democracy.” United States v. Munchel, 451 U.S. App. D.C. 294, 305, 991

F.3d 1273, 1284 (2021). Members of this Court have similarly described it as “a singular and

chilling event in U.S. history, raising legitimate concern about the security—not only of the

Capitol building—but of our democracy itself.” United States v. Cua, No. 21-cr-107, 2021 WL

918255, at *3 (D.D.C. Mar. 10, 2021) (Judge Moss); see also United States v. Foy, No. 21-cr-

108 (D.D.C. June 30, 2021) (Doc. 41, Hrg. Tr. at 14) (“This is not rhetorical flourish. This

reflects the concern of my colleagues and myself for what we view as an incredibly dangerous

and disturbing attack on a free electoral system.”) (Judge Chutkan); United States v. Chrestman,

535 F. Supp. 3d 14, 25 (D.D.C. 2021) (“The actions of this violent mob, particularly those

members who breached police lines and gained entry to the Capitol, are reprehensible as offenses

against morality, civic virtue, and the rule of law.”) (Chief Judge Howell); United States v.

Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a mob without the

numbers. The people who were committing those violent acts did so because they had the safety

of numbers.”) (Judge Chutkan).

       In addition, the rioters injured more than a hundred members of law enforcement. See

Staff of Senate Committees on Homeland Security and Governmental Affairs and on Rules and

Administration Report, Examining the Capitol Attack: A Review of the Security, Planning, and

Response Failures on January 6 (June 7, 2021), at 29, available at

https://www.hsgac.senate.gov/imo/media/doc/HSGAC&RulesFullReport_ExaminingU.S.Capitol

Attack.pdf (describing officer injuries). Some of the rioters wore tactical gear and used




                                                 4
         Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 5 of 24




dangerous weapons and chemical irritants during hours-long hand-to-hand combat with law

enforcement officers. See id. at 27-30.

       Moreover, the rioters inflicted significant emotional injuries on law enforcement officers

and others on scene that day who feared for their safety. See id; see also Architect of the

Capitol, J. Brett Blanton, Statement before the House of Representatives Committee on House

Administration (May 19, 2021), available at https://www.aoc.gov/sites/default/files/2021-

05/AOC_Testimony_CHA_Hearing-2021-05-19.pdf (hereafter, “Statement of Architect of the

Capitol”) (describing the stress suffered by Architect of the Capitol employees due to the January

6, 2021, attack).

       Finally, the rioters stole, vandalized, and destroyed property inside and outside the U.S.

Capitol Building. They caused extensive, and in some instances, incalculable, losses. This

included wrecked platforms, broken glass and doors, graffiti, damaged and stolen sound systems

and photography equipment, broken furniture, damaged artwork, including statues and murals,

historic lanterns ripped from the ground, and paint tracked over historic stone balustrades and

Capitol Building hallways. See Statement of Architect of the Capitol; see also United States

House of Representatives Curator Farar Elliott, Statement Before the House Appropriations

Subcommittee on the Legislative Branch (Feb. 24, 2021), available at

https://docs.house.gov/meetings/AP/AP24/20210224/111233/HHRG-117-AP24-Wstate-ElliottF-

20210224.pdf (describing damage to marble and granite statues). The attack resulted in

substantial damage to the U.S. Capitol, resulting in losses of more than 2.7 million dollars.




                                                 5
            Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 6 of 24




        B.       Defendant’s Role in the January 6, 2021 Attack on the Capitol

        At 5:44 p.m., Blair was present on the West Lawn of the Capitol when members of a

Metropolitan Police Department (MPD) civil disturbance unit (CDU), in order to clear the

Lawn, 2 began walking forward in a line from the West Terrace toward Blair and other rioters.

As the officers proceeded each of them loudly, clearly and repeatedly instructed the rioters to

“move back.” Consistent with their training, each officer held their baton laterally in front of

them, one hand on each end, and thrust it forward and back as they advanced.

        Most of the rioters on the Lawn complied with the officers’ commands and headed west,

away from the Capitol. Occasionally a rioter other than Blair would initially refuse to move and

an officer’s baton would make contact with the rioter’s body in the shoulder or torso, as the

officer thrusted his baton forward. The rioter would then comply and join others proceeding

away from the Capitol.

        By contrast, Blair immediately, loudly and blatantly refused to comply and actively

encouraged others to join him. As shown in various audio-video recordings that captured the

incident, Blair began walking back and forth in front of the police line, displaying his flag, and

yelling, “Hell naw, quit backing up, don't be scared, we're Americans, don't be scared, let's go

quit backing up, quit being scared." An image from a MPD officer’s body-worn camera (BWC)

footage showing Blair as he made these statements appears below.




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          When the day began the West Lawn was completely closed off to the public, with appropriate signage and
barriers. As described above, rioters breached the barriers in the early afternoon.
                                                       6
         Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 7 of 24




       About a minute later, at approximately 5:47 p.m., Blair intentionally positioned himself

in front of one of the officers in the CDU line, MPD Officer K.P., deliberately drawing contact

with the officer’s baton on his (Blair’s) left shoulder as the officer thrusted the baton forward.

The still image below, from Officer K.P.’s body-worn camera (BWC) recording, shows that

moment of contact.




                                                  7
         Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 8 of 24




         The force of Officer K.P.’s baton only pushed Blair forward a couple of feet.

Remaining upright, and with the obvious intent to encourage other rioters to resist along with

him, Blair turned toward Officer K.P., squared up, and loudly stated, “What’s up motherfucker,

what’s up, what’s up bitch?” That moment is shown on the BWC recording image below.




                                                8
             Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 9 of 24




         Officer K.P. did not respond to Blair’s challenge but continued to advance. When the

officer again came close to him, Blair pushed his lacrosse stick into Officer K.P.’s upper chest

area. Blair was then promptly detained and arrested. 3

         A search incident to arrest resulted in the recovery of the knife in Blair’s backpack.

Blair would later explain that he had the knife because he feared getting “jumped” either by

members of “Antifa” or other people. The arresting officers also noticed the roll of duct tape in

the backpack, which Blair acknowledged “looks damn suspicious”; he added, however, that he

was carrying the duct tape because he had used it to tape the flag to the lacrosse stick.

         C. Search Warrant Executed at Blair’s Clarksburg Residence

         Blair was initially released, in the early morning hours of January 7, 2021, with a citation

to appear in D.C. Superior Court. Thereafter, however, he was investigated by the FBI.

Pursuant to that investigation a search warrant was obtained for his residence in Clarksburg,

Maryland, which was executed on January 22, 2021.

         Blair, who lived at the residence with his mother, was present for the search and

cooperated with the search. The agents recovered the roll of duct tape and the military-style

tactical gloves and skull-themed neck gator Blair had been wearing at the Capitol on January 6.

The agents also recovered, from within Blair’s bedroom, a notebook containing handwritten

musings—which Blair would later acknowledge he authored after he returned home following

his citation release—that stated:

                  Save USA
                  RIP Covid victims, Officer Brian Sicknick, David Dorn
                  1.    Wasn’t there for violence / or to overthrow
                  2.    Jail story

         In the process of detaining him, Officer K.P. and other officers struck Blair with their batons, about his
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body and head, causing physical injuries that required Blair’s hospitalization.
                                                          9
        Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 10 of 24




               3.      Polarization of USA / Exploitable weaknesses unique
               [illegible word]
               -       Solid media
               -       News dividing us
               -       Normalization of political violence / Burning businesses
               -       Tribalism
               4.      Hypocricy [sic]


       The agents also found an AR-15 rifle, a loaded ammunition magazine for the rifle, a rifle

stock, and additional rifle ammunition. The agents determined that, at the time of the search,

the rifle was lawfully possessed by Blair, and found documentation that Blair had purchased the

rifle on May 21, 2020. Accordingly, neither the rifle nor any of the ammunition was seized.

       Significantly, however, Blair’s mother, who was also present for the search, denied

knowing that the rifle and ammunition were in the residence.

       D. Blair’s Post-arrest Statements

       An arrest warrant was thereafter obtained, charging Blair with various offenses he

committed during the Capitol attack, including two felonies: assaulting an officer with a

dangerous weapon, in violation of 18 U.S.C. § 111(b); and impeding an officer during a civil

disturbance, in violation of 18 U.S.C. § 231(a). That warrant was executed on February 15,

2021. Through an attorney, Blair agreed to surrender. He thereafter waived his Miranda rights

and was interviewed.

       In the interview Blair claimed that on January 6, 2021, he drove from his home in

Clarksburg, departing at about 3 or 3:30 p.m., to Washington, D.C., and found parking in a

garage “near L Street.” He advised he then walked to the Capitol grounds, which he claimed

took about an hour. He acknowledged being on the Capitol grounds when the police began

telling people to move back. He claimed he was “pushed from behind” by an officer, which

                                               10
               Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 11 of 24




angered him and prompted him to “cross check” the officer with the lacrosse stick he was

carrying. According to Blair, he did not come to D.C. on January 6 to go into the Capitol, but

instead traveled to D.C. that day to “fight Antifa.”

           Blair also explained in the year leading up to the attack on the Capitol he had engaged in

on-line social media discussions with a person he knew only by a first name—which Blair

provided—and that in these discussions he and the other person made anti-Semitic remarks,

blamed Israel for the world’s problems, and made statements about “bankers” “running the

country” and the world. Blair further explained that as a result of these discussions he came to

believe the United States was “falling apart” and that he had to “stand up” to Communism. 4

           Blair advised that he was “immediately remorseful” for his actions following his initial

arrest on January 6. He also claimed that he had had no intention to disrupt the congressional

proceedings taking place that day.

    III.         THE CHARGES AND PLEA AGREEMENT

           On November 10, 2021, a grand jury returned a superseding indictment charging Blair

with Assaulting an Officer with a Dangerous Weapon, in violation of 18 U.S.C. § 111(a)(1) and

(b) (Count One); Interfering with an Officer During a Civil Disorder, in violation of 18 U.S.C.

§ 231(a)(3) (Count Two); Obstruction of an Official Proceeding, in violation of 18 U.S.C.

§ 1512(c)(2) (Count Three); Entering or Remaining in any Restricted Building or Grounds with a

Deadly or Dangerous Weapon in violation of 18 U.S.C. §§ 1752(a)(1) and (b)(1)(A) (Count

Four); Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of 18 U.S.C. § 1752(a)(2) and (b)(1)(A) (Count Five); Engaging


          It is worth noting that the defendant acquired the previously mentioned AR-15 in May 2020, during these
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discussions.
                                                       11
         Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 12 of 24




in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous Weapon,

in violation of 18 U.S.C. § 1752(a)(4) and (b)(1)(A) (Count Six); Unlawful Possession of a

Dangerous Weapon on Capitol Grounds or in Capitol Buildings, in violation of 40 U.S.C. §

5104(e)(1)(A)(i) (Count Seven); Disorderly Conduct on Capitol Grounds or in a Capitol

Building, in violation of 40 U.S.C. § 5104(e)(2)(D (Count Eight); Engaging in Act of Physical

Violence in the Capitol Grounds or in Capitol Buildings in violation of 40 U.S.C.

§ 5104(e)(2)(F) (Count Nine).

         On March 29, 2022, pursuant to a plea agreement, the defendant pled guilty to Count

Two, Interfering with an Officer During a Civil Disorder, in violation of 18 U.S.C. § 231(a)(3).

He now faces sentencing on that Count, with the other counts to be dismissed after he is

sentenced.

   IV.       STATUTORY PENALTIES

         As noted in the plea agreement, the defendant faces up to 5 years of imprisonment, a fine

up to $250,000, and a term of supervised release of not more than three years.

   V.        THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

         As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines

should be the starting point and the initial benchmark” for determining a defendant’s sentence.

Id. at 49. The United States Sentencing Guidelines are “the product of careful study based on

extensive empirical evidence derived from the review of thousands of individual sentencing

decisions” and are the “starting point and the initial benchmark” for sentencing. Id. at 49.


                                                12
         Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 13 of 24




         The U.S. Probation Office, on June 8, 2022, distributed a draft Pre-Sentence Report

setting forth its guidelines analysis for the sole count of conviction in this case. The government

agrees that the draft PSR correctly uses USSG § 2A2.2 (Aggravated Assault) to determine the

base offense level, notwithstanding that the parties, in the plea agreement in this case, agreed that

USSG 2A2.4 (Obstructing or Impeding Officers) determined the base offense level. The

government also concurs with the determination in the draft PSR that the specific offense

characteristic set forth in USSG § 2A2.2(b)(2)(B), the use of a dangerous weapon other than a

firearm, also applies. As a result the draft PSR’s guidelines calculation yields a higher total

offense level, 15, than the total offense level, 11, set out in the plea agreement, and yields a

correspondingly higher range of imprisonment, 18 to 24 months versus 8 to 14 months. The

government nonetheless believes that a sentence of imprisonment within the range contemplated

by the plea agreement, 8 to 14 months, will accomplish the government’s sentencing goals and

that the Court should therefore impose a sentence within that range.

   VI.      SENTENCING FACTORS UNDER 18 U.S.C. § 3553(a)

         In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, 18 U.S.C. § 3553(a)(1); the

history and characteristics of the defendant, id.; the need for the sentence to reflect the

seriousness of the offense and promote respect for the law, id. § 3553(a)(2)(A); the need for the

sentence to afford adequate deterrence, id. § 3553(a)(2)(B); and the need to avoid unwarranted

sentence disparities among defendants with similar records who have been found guilty of

similar conduct, id. § 3553(a)(6). In this case, as described below, application of the Section




                                                  13
        Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 14 of 24




3553(a) factors supports the imposition of a three-month period of imprisonment, followed by

supervised release that includes as a condition a five-month period of home confinement.

       A.      Nature and Circumstances of the Offense

       The attack on the U.S. Capitol, on January 6, 2021, is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was one of

the only times in our history when the building was literally occupied by hostile participants.

By its very nature, the attack defies comparison to other events.

       While each defendant charged in connection with the attack should be sentenced based

on his or her individual conduct, anyone who was unlawfully on the Capitol grounds during the

attack, or who during the attack assaulted members of law enforcement or damaged property, did

so under the most extreme of circumstances, to which each individual’s conduct directly

contributed.

       A Court must assess a Capitol rioter’s conduct on a spectrum. This Court, in

determining a fair and just sentence on this spectrum, should look to a number of critical factors,

to include: (1) whether, when, and how the defendant unlawfully entered the Capitol grounds or

the Capitol building; (2) whether the defendant engaged in or encouraged violence against any

person; (3) whether the defendant engaged in or encouraged any acts of property destruction; (4)

the defendant’s reaction to acts of violence or destruction; (5) whether during or after the attack,

the defendant destroyed evidence; (6) the length of the defendant’s time on the grounds, or inside

the building, and exactly where the defendant traveled on the grounds or in the building; (7) the

defendant’s statements in person or on social media; (8) whether the defendant cooperated with,

or ignored, law enforcement; and (9) whether the defendant otherwise exhibited evidence of


                                                 14
        Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 15 of 24




remorse or contrition. While these factors are not exhaustive nor dispositive, they help to place

each individual defendant on a spectrum as to their fair and just punishment.

       In this case, the nature and circumstances of this defendant’s crime supports imposition

of a sentence of imprisonment for three months followed by five months of home detention.

       By his own admission, the defendant traveled approximately 30 miles, from his home in

Clarksburg to D.C., for the express purpose of engaging in violence with other persons, i.e., to

“fight Antifa.” After parking, he then spent up to an hour walking to the Capitol, carrying a

weapon with him, a knife.

       Upon reaching the Capitol grounds, in order to get onto the West Lawn, Blair would have

had to climb over barricades, or at the very least walk past barricades that had plainly been

unlawfully breached shortly before. He then joined numerous other rioters on the West Lawn,

wearing a menacing face-covering and openly displaying a symbol, the Confederate battle flag,

that he very likely knew would antagonize any ideological opponent he might encounter.

       He of course never had such an encounter and never had to fight any Antifa members.

Nonetheless, he would later try to justify his conduct, to himself, as an attempt to “save” the

country, clearly implying that in his view the country needed to be saved from what was

happening at the Capitol on January 6, 2021, i.e., from the certification of the 2020 election.

       Once on the grounds Blair openly resisted, and encouraged others to resist, lawful police

commands to leave the area, commands that were issued after the police had endured assaults in

and around the Capitol earlier that afternoon. When after a few moments Blair could not find

any allies in his effort, he brazenly attempted to start a physical fight with a police officer,

intentionally positioning himself in front of the officer so the officer’s baton would make contact


                                                  15
        Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 16 of 24




with him; and then challenged the officer to a fight and intentionally struck the officer with a

lacrosse stick. The defendant’s actions on January 6, 2021 show a willingness to violate the

law, to engage in acts of disorder and violence, and to harm others, including uniformed law

enforcement.

        After the riot, when interviewed by law enforcement, he falsely claimed that the officer

he challenged and taunted had “pushed” him “from behind.”

       Nonetheless, it should not go unnoted that the defendant expressed remorse, which the

government acknowledges to be genuine, immediately after being detained, even though he had

suffered significant injuries at the hands of the officers he had defied. He then assisted the

investigation, by cooperating during the execution of a search warrant at his residence, and by

participating in a lengthy interview. In addition, he later voluntarily reviewed with an FBI agent

the contents of his Facebook account.

       B. The History and Characteristics of the Defendant

       The defendant in this case has no prior criminal history, either arrests or convictions. He

is a high-school graduate, with some college education. Leading up to his involvement in the

Capitol riot, he also seems to have made attempts to maintain steady employment. There is also

evidence that he has over-used marijuana, but there is no indication he ever used other illicit

drugs or that he has abused alcohol.

       Like many, his parents divorced when he was a young boy--which was not that long ago

for him--but he apparently is on good terms with both of them.

       Significantly, however, the defendant appears to have embraced anti-Semitism and

related ideologies of hate in the months leading up to the riot. This did not come from his home


                                                 16
            Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 17 of 24




environment but by his own willful engagement with another person with whom he only had on-

line contact. It is important to note that this did not occur in his teen years, but when he was

already 25 years of age, and therefore mature enough to know better.

        The draft PSR makes note of certain post-crime health diagnoses of the defendant that the

government will address, if necessary, in a sealed context. The draft PSR also mentions that the

defendant advised the writer of other health-related issues that pre-dated the riot by several years.

        On balance, the defendant’s history and characteristics are mitigating factors with respect

to the sentence she should receive.

        C.       The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
                 and Promote Respect for the Law

        The attack on the U.S. Capitol building and grounds, and all that it involved, was an

attack on the rule of law. “The violence and destruction of property at the U.S. Capitol on

January 6, 2021 showed a blatant and appalling disregard for our institutions of government and

the orderly administration of the democratic process.” 5 As with the nature and circumstances of

the offense, this factor supports a sentence of incarceration. Blair’s criminal conduct, physically

interfering with, resisting and taunting a law enforcement officer, and encouraging others to do

the same shows extreme disrespect for the law.

        The rule of law was not only disrespected; it was under attack that day. A sentence

without incarceration could encourage further disrespect and attacks. See Gall, 552 U.S. at 54

(it is a “legitimate concern that a lenient sentence for a serious offense threatens to promote

disrespect for the law”).


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          Federal Bureau of Investigation Director Christopher Wray, Statement before the House Oversight and
Reform Committee (June 15, 2021) (hereinafter “FBI Director Wray’s Statement”), available at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20Testimony.pdf
                                                       17
           Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 18 of 24




       D.          The Need for the Sentence to Afford Adequate Deterrence

       Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. See 18 U.S.C. § 3553(a)(2)(B), (C); United States v. Russell, 390 U.S. App. D.C. 100,

107, 600 F.3d 631, 637 (2010).

                                              General Deterrence

       A sentence of imprisonment is needed “to afford adequate deterrence to criminal

conduct” by others. 18 U.S.C. ' 3553(a)(2)(B). The need to deter others is especially strong in

cases involving domestic terrorism, which the breach of the Capitol certainly was. 6 The

demands of general deterrence weigh strongly in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. The violence at the Capitol on January

6, 2021 was cultivated to interfere, and did interfere, with one of the most important democratic

processes we have: the peaceful transfer of power. As noted by Judge Moss during sentencing,

in United States v. Paul Hodgkins, 1:21-cr-188-RDM:

                   [D]emocracy requires the cooperation of the governed. When a
                   mob is prepared to attack the Capitol to prevent our elected
                   officials from both parties from performing their constitutional and
                   statutory duty, democracy is in trouble. The damage that [the
                   defendant] and others caused that day goes way beyond the
                   several-hour delay in the certification. It is a damage that will
                   persist in this country for decades.


Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was

seven months ago for the United States and our diplomats to convince other nations to pursue



       6
           See 18 U.S.C. § 2331(5) (defining “‘domestic terrorism’”).
                                                         18
        Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 19 of 24




democracy. It means that it will be harder for all of us to convince our children and our

grandchildren that democracy stands as the immutable foundation of this nation.” Id. at 70.

       The gravity of these offenses demands deterrence. This was not a protest. See id. at 46

(“I don’t think that any plausible argument can be made defending what happened in the Capitol

on January 6th as the exercise of First Amendment rights.”). And it is important to convey to

future rioters and would-be mob participants—especially those who intend to improperly

influence the democratic process—that their actions will have consequences. There is possibly

no greater factor that this Court must consider.

                                        Specific Deterrence

       The need for the sentence to provide specific deterrence to this defendant, the

government would concede, is somewhat minimal, given his genuine expressions of remorse—

immediately after being detained--and his later cooperation in the investigation that targeted him.

       It is nonetheless troubling that the defendant would attempt to justify his actions, even to

himself, based on a need to “save” America. Such a sentiment suggests the defendant might

engage in similar criminal conduct in the future, should he come to believe again, contrary to all

logic, that the country is again in need of saving.

       E.      The Importance of the Sentencing Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v.

United States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has

“‘modif[ied] and adjust[ed] past practice in the interests of greater rationality, avoiding


                                                   19
        Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 20 of 24




inconsistency, complying with congressional instructions, and the like.’” Kimbrough v. United

States, 552 U.S. 85, 96 (2007); 28 U.S.C. § 994(m). In so doing, the Commission “has the

capacity courts lack to ‘base its determinations on empirical data and national experience, guided

by professional staff with appropriate expertise,’” and “to formulate and constantly refine

national sentencing standards.” Kimbrough, 552 U.S. at 108. Accordingly, courts must give

“respectful consideration to the Guidelines.” Id. at 101. As the Third Circuit has stressed:

               The Sentencing Guidelines are based on the United States
               Sentencing Commission’s in-depth research into prior sentences,
               presentence investigations, probation and parole office statistics,
               and other data. U.S.S.G. §1A1.1, intro., comment 3. More
               importantly, the Guidelines reflect Congress’s determination of
               potential punishments, as set forth in statutes, and Congress’s
               on-going approval of Guidelines sentencing, through oversight of
               the Guidelines revision process. See 28 U.S.C. § 994(p)
               (providing for Congressional oversight of amendments to the
               Guidelines). Because the Guidelines reflect the collected wisdom
               of various institutions, they deserve careful consideration in each
               case. Because they have been produced at Congress's direction,
               they cannot be ignored.


United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that Asignificantly increases the likelihood that the sentence is a reasonable

one.” Rita, 551 U.S. at 347 (emphasis in original). In other words, “the Commission’s

recommendation of a sentencing range will ‘reflect a rough approximation of sentences that

might achieve § 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

       Here, while the Court must balance all of the § 3553 factors to fashion a just and

appropriate sentence, the Guidelines unquestionably provide the most helpful benchmark. As

                                                 20
        Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 21 of 24




this Court knows, the government has charged a considerable number of persons with crimes

based on the January 6 riot. This includes hundreds of felonies and misdemeanors that will be

subjected to Guidelines analysis. In order to reflect Congress’s will—the same Congress that

served as a backdrop to this criminal incursion—the Guidelines will be a powerful driver of

consistency and fairness moving forward.

       F.      Unwarranted Sentencing Disparities

       Finally, as to 18 U.S.C. § 3553(a)(6)—the need to avoid unwarranted sentencing

disparities—the crimes that the defendant and others like him committed on January 6 are

unprecedented. These crimes defy statutorily appropriate comparisons to other obstructive

related conduct in other cases. To try to mechanically compare other defendants convicted

under 18 U.S.C. § 231(a)(3), for offense committed prior to January 6, 2021, would be a

disservice to the magnitude of what the riot entailed and signified.

       With respect to the Capitol riot itself, however, there have been three other cases,

involving four defendants, in which the defendants were sentenced following convictions (all

pursuant to plea agreements) on a single count of violating 18 U.S.C. § 231(a)(3). Those cases

are: U.S. v. Daniel Johnson, 1:21-cr-407-DLF-1 and 1:21-cr-407-DLF-2 (defendants are father

and son, respectively); U.S. v. Nolan Cooke, 1:22-cr-00052-RCL; and U.S. v. Derrick Evans,

1:21-cr-00337-RCL. All of these defendants were sentenced to guideline-compliant prison

terms, but only Daniel Johnson and Cooke faced guideline ranges comparable to the range Blair

faces under his plea agreement. In Daniel Johnson’s case that was a range of 4 to 10 months

and in Cook’s case that was a range of 8 to 14 months (i.e., identical to the range faced by Blair).




                                                21
            Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 22 of 24




Daniel Johnson was ultimately sentenced to four months in prison and Cooke was ultimately

sentenced to 12 months and one day in prison.

        The government submits that Blair is deserving of a greater sentence than Daniel

Johnson, but a lesser sentence than Cooke, for the following reasons.                 With respect to Daniel

Johnson, he, unlike Blair, did not utilize a weapon when he interfered with police officers.

However, Cooke, like Blair, wielded a flagpole, albeit a traditional one, during the attack.

Moreover, Cooke used his flagpole in an attempt to break an outer window of the Capitol and

actively encouraged other attackers to enter the building. In contrast, Blair never made it to the

building itself, did not himself attempt to cause property damage, and encouraged other attackers

only to remain on the West Lawn, not to enter the building. 7

        Accordingly, the government’s recommended sentence for Blair, if accepted by the

Court, will not result in unwarranted sentencing disparity.

                                                RESTITUTION

        The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” 8 United States v. Papagno, 395

U.S. App. D.C. 82, 85, 639 F.3d 1093, 1096 (2011). Generally, restitution under the VWPA

must “be tied to the loss caused by the offense of conviction,” Hughey v. United States, 495 U.S.



        7
         It should be noted that the government advocated for an 11-month prison sentence for Cooke, but that
Cooke himself requested a sentence of 12 months and a day, which the court imposed, in order to be eligible for the
sentence-reduction benefits in 18 U.S.C. § 3624(b).
        8
         The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at 18 U.S.C.
§ 3663A), which “requires restitution in certain federal cases involving a subset of the crimes covered” in the VWPA,
Papagno, 639 F.3d at 1096, does not apply here. See 18 U.S.C. § 3663A(c)(1).
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            Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 23 of 24




411, 418 (1990), identify a specific victim who is “directly and proximately harmed as a result

of” the offense of conviction, 18 U.S.C. § 3663(a)(2), and is applied to costs such as the

expenses associated with recovering from bodily injury, id. § 3663(b). At the same time, the

VWPA also authorizes a court to impose restitution “in any criminal case to the extent agreed to

by the parties in a plea agreement.” Id. § 3663(a)(3); see United States v. Anderson, 383 U.S.

App. D.C. 361, 367-68, 545 F.3d 1072, 1078-79 (2008)

        Those principles have straightforward application here. The victim in this case, Officer

K.P., did not suffer bodily injury as a result of Blair’s act of physical interference with him. The

parties agreed, as permitted by statute, that the defendant will pay $2000 in restitution to the

Architect of the Capitol. 9 As set out in the plea agreement reflect, the riot at the Capitol caused

approximately $1,495,326.55 in damages, a figure based on loss estimates supplied by the

Architect of the Capitol in mid-May 2021. 10 Blair’s restitution payment must be made to the

Clerk of the Court, who will forward the payment to the Architect of the Capitol.

                                               CONCLUSION

        For the reasons set forth above, the government recommends that the Court impose a

sentence of imprisonment of 6 months, followed by a three-year period of supervised release

with the condition the defendant serves two months of home detention, a sentence which is at the

low end of the applicable Guideline range. The Court should also order that the defendant pay

$2000 in restitution and the mandatory $100 special assessment but should not impose a fine.



        9
           Unlike under the Sentencing Guidelines for which the government does not qualify as a victim, see USSG
§ 3A1.2 cmt. n.1, the government or a governmental entity can be a “victim” for purposes of the VWPA. See United
States v. Emor, 850 F. Supp. 2d 176, 204 n.9 (D.D.C. 2012) (citations omitted).
        10
           As discussed supra, more recently the loss figure has been recalculated and updated to approximately
$2.7 million.
                                                        23
Case 1:21-cr-00186-CRC Document 55 Filed 07/06/22 Page 24 of 24




                            Respectfully submitted,

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                              24
